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                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303


David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                       December 17, 2021

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Appeal Number: 21-14269-F
Case Style: State of Georgia, et al v. President of the United States, et al
District Court Docket No: 1:21-cv-00163-RSB-BKE

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
are permitted to use the ECF system by registering for an account at www.pacer.gov.
Information and training materials related to electronic filing, are available at
www.ca11.uscourts.gov.

The enclosed order has been ENTERED.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Dionne S. Young, F
Phone #: (404) 335-6224
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                        IN THE UNITED STATES COURT OF APPEALS

                                 FOR THE ELEVENTH CIRCUIT
                                   ________________________

                                        No. 21-14269-F
                                   ________________________

STATE OF GEORGIA,
STATE OF ALABAMA,
STATE OF IDAHO,
STATE OF KANSAS,
STATE OF SOUTH CAROLINA, et al.,
                                                   Plaintiffs - Appellees,

versus

PRESIDENT OF THE UNITED STATES,
SAFER FEDERAL WORKFORCE TASK FORCE,
UNITED STATES OFFICE OF PERSONNEL MANAGEMENT,
DIRECTOR, OFFICE OF PERSONNEL MANAGEMENT AND CO-CHAIR
SAFER FEDERAL WORKFORCE TASK FORCE,
OFFICE OF MANAGEMENT AND BUDGET, et al.,

                                                Defendants - Appellants.
                                   ________________________

                           Appeal from the United States District Court
                              for the Southern District of Georgia
                                 ________________________


Before: WILSON, GRANT, and LUCK, Circuit Judges.

BY THE COURT:

         The government appeals the district court’s order preliminarily enjoining it from

enforcing the vaccine mandate for federal contractors and subcontractors contained in Executive

Order 14042, the September 24, 2021 Safer Workforce Task Force Guidance for Federal

Contractors and Subcontractors (updated November 10, 2021), the September 30, 2021 Federal

Acquisition Regulatory Council Memorandum, and the November 16, 2021 Determination of the
            USCA11 Case: 21-14269             Date Filed: 12/17/2021         Page: 2 of 2


Acting OMB Director Regarding the Revised Safer Federal Workforce Task Force Guidance for

Federal Contractors. The government has also moved to stay the preliminary injunction pending

appeal. We ordered the plaintiffs and intervenors to file expedited responses to the government’s

stay motion and invited the government to reply. Having reviewed the parties’ submissions, we

deny the motion because the government has not established one of “the most critical” factors—

that it will be irreparably injured absent a stay. See Nken v. Holder, 556 U.S. 418, 434 (2009)

(“The first two factors of the traditional standard are the most critical.”); New Georgia Project v.

Raffensperger, 976 F.3d 1278, 1280 (11th Cir. 2020) (The government is “entitled to a stay if [it]

show[s] (1) that [it] will likely succeed on the merits; (2) irreparable injury absent a stay; (3) that

the stay will not substantially injure the other interested parties; and (4) that a stay is in the public

interest.”). Without a showing by the government of an irreparable injury absent a stay, we

cannot stay the preliminary injunction. See United States v. Bogle, 855 F.2d 707, 711 (11th Cir.

1988) (Hatchett, J., concurring specially) (“I deny the stay because the government has failed to

make the showing of irreparable injury required by the law of the Eleventh Circuit.”).

        We also expedite the government’s appeal of the district court’s preliminary injunction and

set the case for the next available oral argument. The government must file its initial brief no later

than January 3, 2022. The plaintiffs and intervenors must file their answer briefs no later than

January 17, 2022. And any reply brief must be filed no later than January 24, 2022.
